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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                                       CIVIL ACTION NO: 15 CV 12939LTS


METROPOLITAN PROPERTY AND                                         )
CASUALTY INSURANCE COMPANY AND                                    )
THE COMMERCE INSURANCE COMPANY                                    )
     Plaintiffs and Counterclaim-Defendants                       )
                                                                  )
v.                                                                )
                                                                  )
SAVIN HILL FAMILY CHIROPRACTIC, INC.;                             )
LOGAN CHIROPRACTIC, INC.; AND                                     )
LAW OFFICES OF JEFFREY S. GLASSMAN, LLC;                          )
     Defendants and Counterclaim-Plaintiffs                       )
                                                                  )
and                                                               )
                                                                  )
METRO COACH, INC.;                                                )
JEFFREY S. GLASSMAN, ESQ.; BRANDY SOTO;                           )
HEGER ASENJO; KENNETH RAMOS;                                      )
TONY RAMOS; WILLIAM HERNANDEZ;                                    )
RICHARD MCGOVERN, D.C.;                                           )
MARSELLA IMONTI, D.C.; ALLISON ROBIN, D.C.;                       )
CHARLES RONCHETTI, D.C.; TARA O’DESKY, D.C.;                      )
ARISMENDY RAMOS; MAXIMO SOTO;                                     )
APRIL STEWART; TANISHA RAMOS;                                     )
AND KARLA MENDOZA                                                 )
     Defendants                                                   )

    JOINT STATUS REPORT OF THE PARTIES PER THE COURT’S RULING
DOCUMENT NUMBER 1235 AS TO PROGRESSIVE’S MOTION FOR EXTENSION OF
                   TIME, DOCUMENT NUMBER 1233

      The parties have this day conferred and submit the following joint status report.
1.    Counsel for the Law Office of Jeffrey Glassman assents to an extension of time up to and
      including April 12, 2019 for Progressive to comply with the court’s order of production,
      without prejudice for Progressive to Request an additional one week extension prior to
      April 12, 2019.
2.    Counsel for Jeffrey Glassman produced an e-mail document between Progressive and
      Metropolitan from January 2015, which did not come up in Progressive’s search for
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     documents. It is not readily apparent why this e-mail was not identified in Progressive’s
     search and produced so Progressive is requesting additional time to determine why this
     document was not discovered. See Affidavit of Carroll D. Coletti.
3.   Therefore, the parties respectfully request that the court enter a preliminary order
     extending the time for Progressive to produce documents responsive to the court’s order
     up to and including April 12, 2019, without prejudice to Progressive’s right to request a
     further one week extension to April 21, 2019 if necessary.



                                           /s/ Carroll D. Coletti
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                                           Attorney for Progressive Insurance
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                                           LAW OFFICES OF JEFFREY S. GLASSMAN, LLC

                                           /s/ Peter J. Duffy
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                                           Peter J. Duffy BBO #566682
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I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants upon receipt of notification of same
from the court.

                                             /s/ Carroll D. Coletti
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